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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LABORERS’ PENSION FUND, LABORERS’                   )
WELFARE FUND OF THE HEALTH AND                      )
WELFARE DEPARTMENT OF THE                           )
CONSTRUCTION AND GENERAL                            )
LABORERS’ DISTRICT COUNCIL OF                       )
CHICAGO AND VICINITY, THE CHICAGO                   )
LABORERS’ DISTRICT COUNCIL RETIREE                  )
HEALTH AND WELFARE FUND and                         )
CATHERINE WENSKUS, not individually,                )
but as Administrator of the Funds,                  )
                            Plaintiffs,             )
                                                    )
       v.                                           )
                                                    )       Case No. 20-cv-1332
EARP CONCRETE CUTTING, INC.,                        )
an Indiana corporation,                             )
                                                    )
                               Defendant.           )

                                          COMPLAINT

       Plaintiffs, Laborers’ Pension Fund, Laborers’ Welfare Fund of the Health and Welfare

Department of the Construction and General Laborers’ District Council of Chicago and Vicinity,

the Chicago Laborers’ District Council Retiree Health and Welfare Fund, and Catherine

Wenskus, not individually, but as Administrator of the Funds (hereinafter collectively the

“Funds”), by their attorneys, Patrick T. Wallace, Amy N. Carollo, G. Ryan Liska, Katherine C.

V. Mosenson, and Sara S. Schumann, for their Complaint against Defendant Earp Concrete

Cutting, Inc., an Indiana corporation, state:

                                         COUNT I
      (Failure to Pay Fringe Benefit Contributions as Revealed by Submitted Reports)

       1.      Jurisdiction is based on Sections 502(e)(1) and (2) and 515 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132 (e)(1) and
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(2) and 1145, Section 301(a) of the Labor Management Relations Act (“LMRA”) of 1947 as

amended, 29 U.S.C. §185(a), 28 U.S.C. §1331, and federal common law.

        2.      Venue is proper pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2),

and 28 U.S.C. §1391 (a) and (b).

        3.      The Funds are multiemployer Trusts established pursuant to Section 302(c)(5) of

the LMRA, 29 U.S.C. §186(c)(5). The Funds maintain their respective Plans, which are

multiemployer benefit plans within the meanings of Sections 3(3) and 3(37) of ERISA, 29

U.S.C. §1002(3) and 37(A), pursuant to their respective Agreements and Declarations of Trust in

accordance with Section 302(c)(5) of the LMRA. The Funds have offices and conduct business

within this District.

        4.      Plaintiff Catherine Wenskus is the Administrator of the Funds, and has been duly

authorized by the Funds’ Trustees to act on behalf of the Funds in the collection of employer

contributions owed to the Funds and to the Construction and General District Council of Chicago

and Vicinity Training Fund, and with respect to the collection by the Funds of amounts which

have been or are required to be withheld from the wages of employees in payment of union dues

for transmittal to the Construction and General Laborers’ District Council of Chicago and

Vicinity (the “Union”). With respect to such matters, Wenskus is a fiduciary of the Funds within

the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. §1002(21)(A).

        5.      Defendant Earp Concrete Cutting, Inc., (hereinafter the “Company” or “Earp”), is

an Indiana corporation. At all times relevant herein, the Company did business within this

District and was an employer within the meaning of Section 3(5) of ERISA, 29 U.S.C. §1002(5),

and Section 301(a) of the LMRA, 29 U.S.C. §185(c).



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         6.    The Union is a labor organization within the meaning of 29 U.S.C. §185(a). The

Union and the Company are parties to a collective bargaining agreement, the most recent of

which became effective June 1, 2017 (“Agreement”). At all times relevant herein, the

Company’s employees performed work covered by the same Agreement. (A copy of the “short

form” Agreement entered into between the Union and the Company which Agreement adopts

and incorporates a Master Agreement between the Union and various employer associations, and

also binds the Company to the Funds’ respective Agreements and Declarations of Trust and the

Agreements and Declarations of Trusts of the various Funds listed in Paragraph 7 below, is

attached hereto as Exhibit A.)

         7.    The Funds have been duly authorized by the Construction and General Laborers’

District Council of Chicago and Vicinity Training Trust Fund (the “Training Fund”), the

Concrete Contractors’ Association of Greater Chicago (“CCA”), the Chicago Area Independent

Contractors Association (“CAICA”), the Builders’ Association of Greater Chicago (“BAC”), the

Midwest Construction Industry Advancement Fund (“MCIAF”), the Chicagoland Construction

Safety Council (the “Safety Fund”), the Laborers’ Employers’ Cooperation and Education Trust

(“LECET”), the Illinois Road Builders Association (“IRBA”), the CDCNI/CAWCC Contractors’

Industry Advancement Fund (the “Wall & Ceiling Fund”), the CISCO Uniform Drug/Alcohol

Abuse Program (“CISCO”), the Midwest Wall and Ceiling Contractors (“MWCC”) the

Laborers’ District Council Labor Management Committee Cooperative (“LDCLMCC”), the

Contractors’ Association of Will and Grundy Counties (“CAWGC”) and the Illinois Small

Pavers Association (“ISPA”) to act as an agent in the collection of contributions due to those

funds.




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        8.       The Agreement, the Funds’ respective Agreements and Declarations of Trust, and

the Training Fund Agreement and Declaration of Trust, obligate the Company to make

contributions on behalf of its employees covered by the Agreement for pension benefits, health

and welfare benefits, retiree health and welfare benefits, and for the training fund and to submit

monthly remittance reports in which the Company, inter alia, identifies the employees covered

under the Agreement and the amount of contributions to be remitted to the Funds on behalf of

each covered employee. Pursuant to the terms of the Agreement and the Funds’ respective

Agreements and Declarations of Trust, and the Training Fund Agreement and Declaration of

Trust, contributions which are not submitted in a timely fashion are assessed liquidated damages

plus interest.

        9.       The Agreement and the Funds’ respective Agreements and Declarations of Trust

require the Company to submit its books and records to the Funds on demand for an audit to

determine benefit contribution compliance.

        10.      The Agreement obligates the Company to obtain and maintain a surety bond to

insure future wages, pension, and welfare contributions.

        14.      Notwithstanding the obligations imposed by the Agreement and the Funds’

respective Agreements and Declarations of Trust, the Company performed Covered Work during

the time period of November 2019 forward, and submitted but failed to pay its November and

December 2019 reports. The reports show the following amounts owed:

                 a.     benefit contributions totaling $1,054.78 due to the Laborers’ Pension Fund

        for the November and December 2019 reports;




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               b.     benefit contributions totaling $786.63 due to the Laborers’ Welfare Fund

       of the Health and Welfare Department of the Construction and General Laborers’ District

       Council of Chicago and Vicinity for the November and December 2019 reports;

               c.     benefit contributions totaling $375.10 due to the Chicago Laborers’

       District Council Retiree Health and Welfare Fund for the November and December 2019

       reports; and

               d.     benefit contributions totaling $69.75 due to the Laborers’ Training Fund

       for the November and December 2019 reports.

       The November and December 2019 “Web Reports” – summaries showing the hours

reported by the Company online – are attached hereto as Exhibit B.

       15.     The Company’s actions in failing to submit timely contributions violate Section

515 of ERISA, 29 U.S.C. §1145, and Section 301 of the LMRA, 29 U.S.C. §185.

       16.     Pursuant to the terms of the Agreement and the Funds’ respective Agreements and

Declarations of Trust, the Company owes 20% liquidated damages on the unpaid November and

December 2019 reports, a total of $457.26.

       17.     Pursuant to the terms of the Agreement and the Funds’ respective Agreements and

Declarations of Trust, the Company owes 10% liquidated damages on all delinquently-submitted

contributions paid prior to the filing of a lawsuit. The Company delinquently paid its May,

August, September, and October 2019 fringe benefit reports, and therefore owes $497.33 in

accumulated liquidated damages. A copy of the Company’s Contractor Liquidated Damages

History is attached hereto as Exhibit C.

       18.     Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132 (g)(2), Section 301 of

the LMRA, 29 U.S.C. §185, the terms of the Agreement and the Funds’ respective Trust




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Agreements, and federal common law, the Company is liable to the Funds for unpaid

contributions, as well as interest and liquidated damages on the unpaid contributions,

accumulated liquidated damages, reasonable attorneys’ fees and costs, and such other legal and

equitable relief as the Court deems appropriate.

          WHEREFORE, Plaintiffs respectfully request that judgment be entered in their favor and

against Defendant Earp Concrete Cutting, Inc. as follows:

                 a.      entering judgment in sum certain against the Company on the amounts

          reported due and owing pursuant to the November and December 2019 fringe benefits

          reports, plus liquidated damages in the amount of 20%, a total of $2,743.51;

                 b.      entering judgment in sum certain against the Company on the liquidated

          damages incurred on previously late-paid reports, a total of $497.33;

                 c.      ordering the Company to submit its books and records to an audit on

          demand;

                 d.      entering judgment in sum certain against the Company on the amounts

          found due and owing pursuant to the audit, if any, including interest, liquidated damages,

          audit costs, and attorneys’ fees and costs; and

                 e.      awarding Plaintiffs any further legal and equitable relief as the Court

          deems just and appropriate.

                                            COUNT II
                      (Failure to Timely Submit Reports and Pay Union Dues)

          19.    Plaintiffs reallege paragraphs 1 through 18 of Count I as though fully set forth

herein.

          20.    Pursuant to agreement, the Funds have been duly designated to serve as collection

agents for the Union in that the Funds have been given the authority to collect from employers



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union dues which have been or should have been deducted from the wages of covered

employees.

       21.     Dues reports and union dues are due by the 10th day following the month in which

Covered Work was performed. Dues reports and union dues which are not submitted in a timely

fashion are assessed 10% liquidated damages.

       22.     Notwithstanding the obligations imposed by the Agreement, the Company

performed Covered Work during the time period of January 2020 forward, and has failed to

submit dues reports and dues that were deducted or should have been deducted from the wages

of its employees performing Covered Work for the time period of January 2020 forward, thereby

depriving the Union of income and information necessary to determine dues submission

compliance.

       23.     Pursuant to the Agreement and federal common law, the Company is liable for the

unpaid union dues, as well as liquidated damages, accumulated liquidated damages, reasonable

attorneys’ fees and costs as the Union’s collection agent, and such other legal and equitable relief

as the Court deems appropriate.

       WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against Earp

Concrete Cutting, Inc.:

               a.      ordering the Company to submit its January 2020 forward dues reports;

               b.      entering judgment in sum certain against the Company on the amounts due

       and owing pursuant to the January 2020 forward dues reports, including contributions,

       liquidated damages, accumulated liquidated damages, and attorneys’ fees and costs; and

               c.      awarding Plaintiffs any further legal and equitable relief as the Court

       deems appropriate.




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                                      COUNT III
         (Failure to Timely Submit Reports and Pay Fringe Benefit Contributions)

       24.    Plaintiffs reallege paragraphs 19 through 23 as though fully set forth herein.

       25.    Notwithstanding the obligations imposed by the Agreement and the Funds’

respective Agreements and Declarations of Trust, the Company performed covered work during

the time period of January 2020 forward, but has:

              a.      failed to submit reports and pay contributions to Plaintiff Laborers’

       Pension Fund for the period of January 2020 forward, thereby depriving the Laborers’

       Pension Fund of contributions, income, and information needed to administer the Fund

       and jeopardizing the pension benefits of the participants and beneficiaries;

              b.      failed to submit reports and pay contributions to Plaintiff Laborers’

       Welfare Fund of the Health and Welfare Department of the Construction and General

       Laborers’ District Council of Chicago and Vicinity for the period of January 2020

       forward, thereby depriving the Welfare Fund of contributions, income, and information

       needed to administer the Fund and jeopardizing the health and welfare benefits of the

       participants and beneficiaries;

              c.      failed to submit reports and pay contributions to Plaintiff Chicago

       Laborers’ District Council Retiree Health and Welfare Fund for the period of January

       2020 forward, thereby depriving the Retiree Welfare Fund of contributions, income, and

       information needed to administer the Fund and jeopardizing the health and welfare

       benefits of the participants and beneficiaries;

              d.      failed to submit reports and pay contributions to the Laborers’ Training

       Fund for the period of January 2020 forward, thereby depriving the Training Fund of




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       contributions, income, and information needed to administer the Fund and jeopardizing

       the benefits of the participants and beneficiaries;

               e.     failed to submit reports and pay contributions to one or more of the other

       affiliated funds identified in Paragraph 7 for the period of January 2020 forward, thereby

       depriving said fund(s) of contributions, income, and information needed to administer the

       said fund(s) and jeopardizing the benefits of the participants and beneficiaries; and

               f.     failed to obtain and maintain a surety bond in accordance with the

       Agreement and the Funds’ respective Agreements and Declarations of Trust.

       26.     The Company’s actions in failing to submit timely reports and contributions

violate Section 515 of ERISA, 29 U.S.C. §1145, and Section 301 of the LMRA. 29 U.S.C. §185,

and federal common law interpreting ERISA, 29 U.S.C. §1132 (g)(2).

       27.     Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132 (g)(2), Section 301 of

the LMRA, 29 U.S.C. §185, federal common law, and the terms of the Agreement and the

Funds’ respective Trust Agreements, the Company is liable to the Funds for delinquent

contributions, liquidated damages, interest, accumulated liquidated damages, audit costs,

reasonable attorneys’ fees and costs, and such other legal and equitable relief as the Court deems

appropriate.

       WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against Earp

Concrete Cutting, Inc.:

               a.     ordering the Company to submit its January 2020 forward fringe benefit

       reports;




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             b.      entering judgment in sum certain against the Company on the amounts due

      and owing pursuant to the January 2020 forward fringe benefit reports, including

      contributions, interest, liquidated damages, and attorneys’ fees and costs;

             c.      ordering the Company to obtain and maintain a surety bond in accordance

      with the Agreement and the Funds’ respective Agreements and Declarations of Trust; and

             d.      awarding Plaintiffs any further legal and equitable relief as the Court

      deems appropriate.




February 24, 2020                                          Laborers’ Pension Fund, et al.

                                                           By: /s/ Katherine Mosenson
Laborers’ Pension and Welfare Funds
Office of Fund Counsel
111 West Jackson Boulevard
Suite 1415
Chicago, Illinois 60604
(312) 692-1540




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                                                                     Exhibit A
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PRINTED: 02/05/2020                              LABORERS' PENSION & WELFARE FUNDS                                                                              Page 1
TRANSACTION 1612827                              WEB REPORT PRINT

CONTRACTOR 035767                                                                                        SUBMIT DATE                                                   02/04/2020
            EARP CONCRETE CUTTING INC                                                                    REPORT DATE                                                      11/2019
           857 E SHAKESPEDARE DR                                                                         REPORT TYPE                                                  Web -Online
           VALPARAISO IN 46383-4129
                                                                                                         RECEIVED DATE
                    (219)203-2622
--------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                                                 ONLINE PAYMENT:-----------------------------------------------------------------------------------------------------

                                                   PAYMENT DATE:                                     BANK NAME:
                                                   PAYMENT AMOUNT:

                                                   PAYMENT NOTE:


--------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
NUMBER OF LABORERS                                  3             COMMENT:
REPORTED HOURS                                  43.00
--------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
 CNT         SOC SEC #           NAME                                      EXCEPTION                                                      HOURS
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1                               MICHAL MACIATA                                                                                               19.00
2                               TOMASZ LUKASZCYK                                                                                             15.00
3                               STANLEY SMITH                                                                                                 9.00



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           FUND                                                         RATE                    CALCULATED AMOUNT                                                      PENALTY
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           Welfare & Pension                                             28.60                                     1,229.80                                                 245.96
           Training                                                       0.90                                        38.70
                                                                                                      ------------------------------------------------------------------------------
                                                                                                                   1,268.50                                                 245.96




                                                                                                                                           Exhibit B
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PRINTED: 02/05/2020                              LABORERS' PENSION & WELFARE FUNDS                                                                              Page 1
TRANSACTION 1612830                              WEB REPORT PRINT

CONTRACTOR 035767                                                                                        SUBMIT DATE                                                   02/04/2020
            EARP CONCRETE CUTTING INC                                                                    REPORT DATE                                                      12/2019
           857 E SHAKESPEDARE DR                                                                         REPORT TYPE                                                  Web -Online
           VALPARAISO IN 46383-4129
                                                                                                         RECEIVED DATE
                    (219)203-2622
--------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                                                 ONLINE PAYMENT:-----------------------------------------------------------------------------------------------------

                                                   PAYMENT DATE:                                     BANK NAME:
                                                   PAYMENT AMOUNT:

                                                   PAYMENT NOTE:


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NUMBER OF LABORERS                                  3             COMMENT:
REPORTED HOURS                                  34.50
--------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
 CNT         SOC SEC #           NAME                                      EXCEPTION                                                      HOURS
--------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


1                               MICHAL MACIATA                                                                                                9.50
2                               TOMASZ LUKASZCYK                                                                                              7.50
3                               STANLEY SMITH                                                                                                17.50



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           FUND                                                         RATE                    CALCULATED AMOUNT
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           Welfare & Pension                                             28.60                                       986.70
           Training                                                       0.90                                        31.05
                                                                                                      ------------------------------------------------------------------------------
                                                                                                                   1,017.75
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LABORERS' PENSION & WELFARE FUNDS                                                                                                                                                                                                                                      Printed Date 2/24/2020



                                                                      LABORERS' PENSION & WELFARE FUNDS
                                                                    CONTRACTOR LIQUIDATED DAMAGES HISTORY


Contractor Number            035767                                                       Phone                 (219) 203-2622
Contractor Name              EARP CONCRETE CUTTING INC                                    Status                         Active
Address                      857 E SHAKESPEDARE DR                                        Outstanding Balance         $ 497.33
                             VALPARAISO IN, 463834129


                                                                TOTAL LD                                              WELFARE LD                                           RETIREE WELFARE LD                                           PENSION LD
  Invoice #   Report Month   Received Date   Trans #   LD %          LD $    Adjustment        Payment    Write Off   Welfare LD    Welfare         Welfare   Welfare Write Ret. Welfare   Ret. Welfare   Ret. Welfare   Ret. Welfare    Pension LD    Pension         Pension   Pension Write
                                                                                                                                   Adjustment       Payment        Off           LD        Adjustment      Payment        Write Off                   Adjustment       Payment        Off


     51472        10/2019    12/17/2019      1609070      10%   $    98.68   $     -       $       -     $      -     $   35.02    $     -      $       -     $       -     $    16.70     $      -       $      -       $      -       $   46.96     $     -      $       -     $       -
     51471        09/2019    12/17/2019      1609069      10%   $   117.25   $     -       $       -     $      -     $   41.61    $     -      $       -     $       -     $    19.84     $      -       $      -       $      -       $   55.80     $     -      $       -     $       -
     51284        08/2019    11/05/2019      1605424      10%   $   205.86   $     -       $       -     $      -     $   73.06    $     -      $       -     $       -     $    34.84     $      -       $      -       $      -       $   97.96     $     -      $       -     $       -
     51019        05/2019    09/18/2019      1600936      10%   $    75.54   $     -       $       -     $      -     $   27.91    $     -      $       -     $       -     $    13.06     $      -       $      -       $      -       $   34.57     $     -      $       -     $       -

                                                                $ 497.33 $         -       $       -     $      -     $ 177.60 $         -      $       -     $       -     $ 84.44 $             -       $      -       $      -       $ 235.29 $          -      $       -     $       -

                                                                $ 497.33                                              $ 177.60                                              $ 84.44                                                     $ 235.29




                                                                                                                                                                                                                                                           Exhibit C




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